246 F.2d 608
    Solomon P. ROSENBLOOM, also known as Sol Rosenbloom, Appellant,v.UNITED STATES of America.
    No. 15842.
    United States Court of Appeals Eighth Circuit.
    July 24, 1957.
    
      Charles M. Shaw, Clayton, Mo., and Israel Treiman, St. Louis, Mo., for appellant.
      Harry Richards, U.S. Atty., and Wayne H. Bigler, Jr., Asst. U.S. Atty., St. Louis, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court docketed and dismissed, on motion of appellee.
    
    